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  1
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  2                             WESTERN DIVISION
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  4   Edwardo Munoz, individually and on          Case No. 2:18-cv-03893-RGK-AGR
      behalf of all others similarly situated,
  5
                                   Plaintiff,       [PROPOSED] ORDER
  6                                                 GRANTING PLAINTIFF’S
             v.
  7
                                                    MOTION FOR CLASS
      7-Eleven, Inc., a Texas corporation,          CERTIFICATION
  8
                                     Defendant.     Date: September 10, 2018
  9
                                                    Time: 9:00 a.m.
 10                                                 Judge: Hon. R. Gary Klausner
 11                                                 Courtroom: 850
                                                    Complaint Filed: May 15, 2018
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 13
            Having considered the moving papers and all other matters presented to the
 14
      Court, the Court finds that Plaintiff’s Motion for Class Certification should be
 15
      granted, and hereby orders as follows:
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            1.     The Court certifies the following Classes as defined below:
 17
                   Disclosure Class: All persons in the United States who (1)
 18
                   from a date two years prior to the filing of the initial complaint
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                   in this action to the date notice is sent to the Disclosure Class;
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                   (2) applied for employment with Defendant; (3) about whom
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                   Defendant procured a consumer report; and (4) who were
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                   provided the same form FCRA disclosure and authorization as
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                   the disclosure and authorization form that Defendant provided
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                   to Plaintiff.
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                   California Subclass: All members of the Disclosure Class
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                   who reside in California.
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  2        2.    The Court appoints Plaintiff Edwardo Munoz as Class Representative;
  3              and
  4        3.    The Court appoints the law firms of Woodrow & Peluso, LLC and
  5              Arias Sanguinetti Wang & Torrijos, LLP as Class Counsel.
  6        IT IS HEREBY ORDERED that Plaintiff’s Motion is GRANTED.
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  8
      Dated:
                                                       Hon. R. Gary Klausner
  9                                                    United States District Judge
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                               Notice of Motion for Class Certification
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